The bill of complaint herein was filed to enjoin the defendant city and its officials from entering into a contract for the sale of self-liquidating bonds to be used in the construction of a sewage disposal plant under the provisions of Act No. 94, Pub. Acts 1933. The trial court held the act to be unconstitutional and granted the relief prayed for, from which the defendants have appealed.
In Young v. City of Ann Arbor, ante, 241, in which a similar question was presented, this act was held to be constitutional and the right to enter into such a contract sustained. Decision in this case is controlled thereby.
The decree appealed from is reversed, and one may be here entered dismissing the bill. No costs will be allowed.
POTTER, FEAD, WIEST, BUTZEL, BUSHNELL and EDWARD M. SHARPE, JJ., concurred. NORTH, J., did not sit. *Page 257 